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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                Plaintiff,                    )
                                              )
       v.                                     )         No. 18 CR 286
                                              )
                                              )
DAVID SALGADO                                 )         Hon. Matthew F. Kennelly
                                              )
                Defendant.                    )


  DEFENDANT SALGADO’S STATUS REPORT REGARDING THE SENTENCING
                           HEARING

       NOW COMES the defendant, DAVID SALGADO (“SALGADO”), by and through his

attorney, MICHAEL J. PETRO, and hereby requests this Honorable Court to enter into the

record DEFENDANT SALGADO’S STATUS REPORT REGARDING THE SENTENCING

HEARING.

            1. The status report should include whether the defendant consents to proceed by

               video (No video – in person) and should identify any witnesses who will be

               called at the sentencing hearing ( Kimberly Arreola, wife, and Petra Salgado,

               sister, will be proffering support) and should provide the number of others (e.g.,

               family and friends) (There will be aroud 10-15 family members and friends) who

               are planning to attend the sentencing.



Respectfully submitted,

s/ Michael J. Petro

Attorney for DAVID SALGADO
53 West Jackson Boulevard, Suite 630
Chicago, Illinois 60604
312-913-1111
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                                   CERTIFICATE OF SERVICE

     I, MICHAEL J. PETRO, an attorney, state that I caused to be filed, by electronic filing

(ECF), with the Clerk of the United States District Court for the Northern District of Illinois, the

foregoing document on 6/30/2020June 30, 2020.



By His Attorney,

/s Michael J. Petro

Attorney for DAVID SALGAO
53 West Jackson Boulevard, Suite 630
Chicago, Illinois 60604
312-913-1111




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